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                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF OREGON
                                       EUGENE DIVISION


UNIVERSITY OF OREGON, individually and                  Case No.       6:21-cv-00619
in its capacity as the Assignee of the rights of the
Estate of Eliborio Rodrigues, Jr.,                      COMPLAINT
                                                        (42 U.S.C. § 1983; Indemnity)
               Plaintiff,                               DEMAND FOR JURY TRIAL
       vs.
TROY PHILLIPS, an individual,
               Defendant.
       Plaintiff University of Oregon alleges as follows:

                                             PARTIES
                                                  1.
       Plaintiff is a public university organized under the laws of the State of Oregon. Plaintiff
appears herein in its own capacity to assert a claim of common law indemnity, and in its capacity
as the assignee of the rights of the Estate of Eliborio Rodrigues, Jr., (Rodrigues) to assert claims
of the violation of his rights under the United States Constitution pursuant to 42 U.S.C. § 1983.
                                                  2.
       At all times material, Defendant Troy Phillips was an employee of the University of
Oregon, working as an officer for Plaintiff’s police department. Defendant is named herein in
his individual capacity.

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                                JURISDICTION AND VENUE
                                                3.
       This Court has federal question jurisdiction over this matter pursuant to 28 U.S.C.

§ 1331. Plaintiff’s state law indemnity claim arises out of the same case or controversy, yet the
federal claims predominate. This Court therefore has jurisdiction over Plaintiff’s state law claim
under 28 U.S.C. § 1367(a).
                                                4.
       Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(1) and (2) because
Plaintiff and Defendant are both residents of Lane County, Oregon and all events giving rise to
this action occurred in Lane County, Oregon.

                                   STATEMENT OF FACTS
                                                5.
       On the evening of October 27, 2018, Defendant Troy Phillips was on-duty working as a
police officer for Plaintiff’s police department. Defendant was wearing a uniform and badge,
signifying his position as a police officer, operating a department owned and marked police
vehicle, and was armed with a department-issued taser and handgun.
                                                6.
       While traveling north on Agate Street in Eugene, Oregon, between East 13th and
East 15th Avenues, Defendant came upon from behind a Hispanic man, later identified as
Eliborio Rodrigues Jr., riding a bicycle in the street’s designated bicycle lane. Though having no
reasonable suspicion that Rodrigues had engaged in or was engaging in criminal activity,
Defendant turned his vehicle around and pursued Rodrigues. Defendant initiated a stop of
Rodrigues by activating his police car’s overhead emergency lights, activating its siren and
stating over a loud-speaker that Rodrigues must stop.
                                                7.
       Rodrigues stopped his bicycle on the sidewalk of Agate Street within 15 seconds of
Defendant’s instruction to do so. Rodrigues did not first accelerate, change direction, or give


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other indication of an intent to escape. Upon stopping, Rodrigues stood calmly, straddling his
bicycle as Defendant exited his police vehicle and approached him.
                                                 8.
       For no justifiable reason, Defendant pulled his handgun and pointed it at Rodrigues as he

approached him. Defendant immediately demanded to know why Rodrigues did not stop when
Defendant activated his siren. Rodrigues, motioning to a small speaker in his hand, explained to
Defendant that he had not initially heard the siren due to music he was playing. Defendant
noticed that Rodrigues had a knife in a sheath attached to his waistband. Upon seeing the knife,
Defendant repeatedly ordered Rodrigues to get down on the ground. Rodrigues held both of his
hands in the air, holding a small bag in one and a small speaker in the other, stating that he did
not want to sit on the ground, which was wet at the late hour in October, and that he wanted to
speak with a supervisor. Defendant yelled to Rodrigues that he needed to get on the ground
because he was armed with a knife and not following his orders. Rodrigues, with his hands still
in the air, again calmly noted that the knife was in a sheath.
                                                 9.
       Defendant informed Rodrigues that he would be tased if he did not get on the ground, and

told his cover officer to “go lethal.” In response, Rodrigues pleaded: “No. Please sir. You see
my hands. Get your sergeant.” He did not raise his voice, move his hands from the air, or move

away from Defendant. Defendant yelled at Rodrigues that he was under arrest. Rodrigues
stated: “You can’t do that to me. Let me – I couldn’t hear due to the music.” At that moment,
the sound of the police sirens of approaching officers became audible. Despite the imminent
arrival of back-up, and only 40 seconds into the encounter, Defendant tackled Rodrigues to the
ground, employing force in doing so that was not reasonable.
                                                 10.
       Defendant handcuffed and arrested Rodrigues without probable cause for arrest.




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                                                  11.
          After arresting Rodrigues, Defendant prepared three or more reports, including a
probable cause report, an incident/investigation report and a use of force report. One of the
purposes for the probable cause and incident/investigation reports is to transmit the facts

underlying the arrest to the prosecuting attorney for potential prosecution. While preparing his
investigation/incident report, Defendant reviewed the audio and video recording of the encounter
with Rodrigues at least four times.
                                                  12.
          Defendant intentionally made false statements in his reports regarding Rodrigues’s
conduct, including reporting that Rodrigues “swerved jaggedly” as though about to enter
Defendant’s lane of traffic; that Defendant had to “brake heavily” to avoid hitting Rodrigues
when he swerved in front of him; that Rodrigues “cut in front of” Defendant in the vehicle lane
of travel as he dismounted his bicycle; that Rodrigues was displaying “swerving and jerky sharp
movements” and was unable to control his bicycle; that after being tackled by Defendant,
Rodrigues “immediately began reaching toward his waistband and knife; and that Rodrigues was
actively resisting arrest and “appeared to be attempting to access his weapon.” The audio and

video recording of the encounter conclusively demonstrate that the foregoing statements are
false.

                                                  13.
          Defendant failed to disclose in his incident/investigation report that the incident had been
audio and video recorded. The narrative depicted by those recordings is exculpatory for
Rodrigues. Defendant further failed to include in his reports Rodrigues’s exculpatory statement
that he had not heard the initial command to stop due to his music and the exculpatory facts that
Rodrigues was holding items in each of his hands, neither of them a weapon, and that Rodrigues
held his hands in the air, well above his waist, the entire time he was on his feet speaking with
Defendant.




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                                                  14.
        Defendant’s motivation for making the false statements in his reports, and omitting the
exculpatory evidence from them, was to fabricate reasonable suspicion for the stop of Rodrigues,
to fabricate probable cause for his arrest and to create justification for his use of force.

                                                  15.
        Defendant submitted his false probable cause and incident/investigation reports to the
Eugene municipal prosecuting attorney in an effort to initiate a prosecution of Rodrigues.
Defendant knew his reports contained false statements and misrepresentations, omitted
exculpatory information, and that they would be relied on by the prosecuting attorney. The
prosecuting attorney filed charges against Rodrigues in reliance on the assertions set forth by
Defendant in his reports.
                                                  16.
        The day prior to Rodrigues’s trial, the prosecuting attorney emailed Defendant, asking if
there was a video recording of the incident with Rodrigues. Defendant intentionally ignored that
email and did not disclose the existence of the audio and video recordings to the prosecuting
attorney prior to the trial. Had he done so, the prosecuting attorney would not have proceeded

with the prosecution of Rodrigues.
                                                  17.

        Defendant was called to testify as a witness against Rodrigues at the trial of the charges
stemming from Defendant’s arrest of him. Defendant was placed under oath and swore to tell
the truth. Defendant did not tell the truth in his testimony. Rather he repeated the false
statements made in his reports and intentionally omitted the exculpatory evidence.
                                                  18.
        Upon discovery, Plaintiff thoroughly investigated Defendant’s actions with relation to
Rodrigues. Plaintiff concluded that Defendant had engaged in the egregious misconduct
described above. Plaintiff terminated Defendant’s employment on November 25, 2019, because
of that misconduct and reported Defendant’s untruthfulness to the Lane County District Attorney.


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                                                19.
       Rodrigues served a tort claim notice on Plaintiff on April 4, 2019, giving notice of his
intent to bring tort claims against Plaintiff based on the October 27, 2018, encounter with
Defendant. Rodrigues died in November 2019. Rodrigues’s estate served a subsequent tort

claim notice on Plaintiff on April 17, 2020, indicating its intent to pursue additional claims
against Plaintiff arising from Defendant’s actions in providing false reporting and testimony and
pursuing a criminal conviction against Rodrigues based on that false reporting and testimony.
                                                20.
       On October 26, 2020, Plaintiff, Defendant and the Estate of Rodrigues entered into an
agreement to toll the statute of limitations on Rodrigues’s claims until April 26, 2021.
                                                21.
       Plaintiff and the Estate of Rodrigues have entered into a settlement agreement, signed on
April 21 and April 20, 2021, respectively. Pursuant to the terms of that agreement, Plaintiff
agreed to pay the Estate of Rodrigues a total of $115,000.00 in exchange for Rodrigues’s
agreement not to pursue any claims against Plaintiff or Defendant arising out of or related to his
encounter with Defendant on October 27, 2018. Pursuant to that agreement, $15,000.00 of the

settlement amount was paid to compensate Rodrigues for his damages related to Defendant’s use
of excessive force against him. Pursuant to the terms of that agreement, the Estate of Rodrigues

agreed to assign, and did assign, all of its remaining claims against Defendant to Plaintiff for the
remaining settlement amount of $100,000.00.
                                     FIRST CLAIM FOR RELIEF

                           (Plaintiff as Assignee for the Estate of Rodrigues)
                                        42 U.S.C. § 1983 -
           Unlawful Seizure in Violation of Plaintiff’s Fourth Amendment Rights
                                                22.
       Plaintiff realleges each of the foregoing paragraphs.




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                                                 23.
       At all material times, Defendant was acting under color of law in his capacity as a police
officer for the University of Oregon police department.
                                                 24.

       The Fourth Amendment to the United States Constitution protects persons from being
subjected to unreasonable seizures by the police.
                                                 25.
       A “seizure” occurs when a police officer restrains a person in some way, either by means
of physical force or by a show of authority that the person obeys. Depending on the level of
restraint employed, a seizure must be based upon either reasonable suspicion or probable cause
that a crime has been committed.
                                                 26.
       Defendant seized Plaintiff when he stopped him by engaging his police car lights,
sounding his siren, and demanding that Plaintiff stop over his loudspeaker. Plaintiff obeyed
Defendant’s show of authority and stopped. Defendant did not have reasonable suspicion at the
time he stopped Plaintiff to believe that Plaintiff had engaged in criminal activity. This seizure

violated Plaintiff’s rights under the Fourth Amendment.
                                                 27.

       Defendant further seized Plaintiff when he pointed his handgun at him, tackled him to the
ground, caused him to be placed him in handcuffs, and informed him that he was under arrest.
Each of the foregoing actions, alone and in combination, constitutes an arrest of Plaintiff.
Defendant did not have probable cause to believe that Plaintiff had engaged in criminal activity
at the time he arrested Plaintiff. This seizure also violated Plaintiff’s rights under the Fourth
Amendment.
                                                 28.
       As a direct result of Defendant’s violation of his Fourth Amendment rights, Plaintiff
suffered mental distress, including extreme fear, embarrassment, and humiliation. Plaintiff’s


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non-economic damages are valued at $100,000.00. In addition, Plaintiff has suffered economic
damages in an amount to be proven at trial.
                                                  29.
        Plaintiff is entitled to an award of its reasonable attorney fees incurred in the pursuit of

this claim pursuant to 42 U.S.C. § 1988.
                                     SECOND CLAIM FOR RELIEF

                           (Plaintiff as Assignee for the Estate of Rodrigues)
                                         42 U.S.C. § 1983 –
         Malicious Prosecution in Violation of Plaintiff’s Fourth Amendment Rights
                                                  30.
        Plaintiff realleges the allegations set forth above.
                                                  31.
        At all material times, Defendant acted under color of state law in his role as a police
officer for the University of Oregon police department.
                                                  32.
        By preparing the probable cause and incident/investigation reports identified in
paragraphs 11 and 12, above; submitting those reports to the City of Eugene Municipal Attorney

for purposes of prosecution; and testifying at Rodrigues’s trial on the charges for which
Defendant arrested him, Defendant initiated or caused to be initiated a criminal proceeding

against Plaintiff.
                                                  33.
        The criminal proceeding Defendant initiated or caused to be initiated ended in Plaintiff’s
favor when he was acquitted of all criminal activity, found only to have engaged in a violation.
                                                  34.
        Defendant had actual knowledge that the factual allegations he included in his reports and
testified to at trial to support the charges of criminal activity against Plaintiff were false and/or
misleading. Defendant was also aware that he omitted exculpatory evidence from his reports and



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testimony and hid the existence of the audio and video recordings of his encounter with Plaintiff
from the prosecuting attorney. Because the audio and video recordings conclusively contradict
Defendant’s reports, the prosecuting attorney would not have proceeded with the prosecution had
he known of their existence. As such, the criminal proceeding Defendant initiated or caused to

be initiated against Plaintiff was without probable cause.
                                                 35.
       The criminal prosecution was maliciously initiated or caused to be initiated by Defendant
to cover up his own misconduct in his interaction with Plaintiff.
                                                 36.
       As a result of Defendant’s conduct, Plaintiff was taken to jail and he was required to
appear at trial. Such deprivations of Plaintiff’s liberty constitute a seizure as a consequence of a
legal proceeding.
                                                 37.
       As a direct result of Defendant’s malicious prosecution, Plaintiff has suffered mental
distress, including extreme fear, embarrassment and humiliation. Plaintiff’s non-economic
damages are valued at $100,000.00. As a further consequence of Defendant’s malicious

prosecution, Plaintiff has suffered economic damages in an amount to be proven at trial.
                                                 38.

       Plaintiff is entitled to an award of his reasonable attorney fees incurred in the pursuit of
this claim pursuant to 42 U.S.C. § 1988.
                                     THIRD CLAIM FOR RELIEF
                           (Plaintiff as Assignee for the Estate of Rodrigues)

                                        42 U.S.C. § 1983 –
     Fabrication of Evidence in Violation of Plaintiff’s Fourteenth Amendment Rights
                                                 39.
       Plaintiff realleges the allegations set forth above.




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                                                   40.
       At all material times, Defendant acted under color of state law in his role as a police
officer for the University of Oregon police department.
                                                   41.

       The Fourteenth Amendment protects against a person being subjected to criminal charges
on the basis of false evidence that was deliberately fabricated by law enforcement or as a result
of the failure to disclose exculpatory evidence.
                                                   42.
       As set forth above, Defendant fabricated evidence when he prepared and submitted his
reports containing factual allegations he knew were false, and when he testified at Plaintiff’s trial
consistent with his reports. Defendant failed to disclose exculpatory evidence when he omitted
such evidence, described above, from his reports and testimony.
                                                   43.
       Plaintiff was criminally charged and prosecuted entirely based on the false statements of
criminal activity set forth in his reports and his trial testimony and the omission from the same of
exculpatory evidence.

                                                   44.
       Defendant’s actions violated Plaintiff’s Fourteenth Amendment due process rights to be

free of criminal charges and prosecution resulting from the fabrication of evidence.
                                                   45.
       As a direct result of Defendant’s violation of Plaintiff’s due process rights, Plaintiff has
suffered mental distress, including extreme fear, embarrassment and humiliation. Plaintiff’s non-
economic damages are valued at $100,000. As a further consequence of Defendant’s conduct,
Plaintiff has suffered economic damages in an amount to be proven at trial.
                                                   46.
       Plaintiff is entitled to an award of his reasonable attorney fees incurred in the pursuit of
this claim pursuant to 42 U.S.C. § 1988.


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                                FOURTH CLAIM FOR RELIEF
                                           INDEMNITY
                                                  47.

        Plaintiff realleges the allegations set forth above.
                                                  48.
        Defendant was acting the course of his employment on October 27, 2018, and was
cloaked with the authority of a police officer for Plaintiff’s police department. At this time,
Defendant also was operating a vehicle owned by Plaintiff and was carrying a handgun owned
by Plaintiff.
                                                  49.
        For the reasons set forth above, Defendant was legally obligated to Rodrigues to
compensate him for the damages resulting from his illegal actions. Pursuant to ORS 30.265,
Plaintiff was also liable to Rodrigues for its employee’s conduct.
                                                  50.
        Plaintiff entered into the settlement agreement identified in paragraph 21, above, with
Rodrigues to discharge the legal obligation to compensate Rodrigues for the damages suffered as
a result of Defendant’s actions. Pursuant to that agreement, Plaintiff paid Rodrigues
$115,000.00 to give up all of his rights to pursue Plaintiff or Defendant on any claim arising out
of the encounter with Defendant.
                                                  51.
        As between Plaintiff and Defendant, it is Defendant who engaged in illegal activity
giving rise to Rodrigues’s damages and who ought to pay for the obligation owed. Plaintiff’s act
in paying Rodrigues full compensation for his damages in exchange for his agreement not to take
any action against Defendant was a benefit to Defendant, valued at $115,000.00. Reducing from
that amount the $15,000.00 paid to Rodrigues for his damages arising from Defendant’s use of
excessive force, a claim Plaintiff agreed to indemnify Defendant for, Defendant is obligated to
indemnify Plaintiff in the amount of $100,000.00.


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                                DEMAND FOR JURY TRIAL
                                                   52.
       Plaintiff demands trial by jury.

                                    PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays that its Complaint be deemed good and satisfactory and
that it be awarded the following amounts:
       a.      On its First, Second and Third Claims for Relief, non-economic damages in the
amount of $100,000.00, economic damages in an amount to be determined at trial, and its
reasonable costs and attorney’s fees incurred herein;
       b.      On its Fourth Claim for Relief, an award of indemnification in the amount of
$100,000.00, and its reasonable costs incurred herein; and
       c.      For any additional relief the court deems just and equitable.

       DATED this 23rd day of April, 2021.


                                            HUTCHINSON COX

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